Case 1:23-cv-00108-LMB-JFA Document 1193-4 Filed 08/22/24 Page 1 of 10 PageID# 87892




              Plaintiffs’ Exhibit 31
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                                 HIGHLY CONFIDENTIAL

                                                                     Page 1

    1                  IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
    2                           ALEXANDRIA DIVISION
    3          ---------------------------:
               UNITED STATES, et al.,             :
    4                                             :
                            Plaintiff,            :
    5                                             :
                        vs.                       : Case No.:
    6                                             : 1:23-CV-00108-LMB-JFA
               GOOGLE, LLC,                       :
    7                                             :
                            Defendant.            :
    8          ---------------------------:
    9
  10
  11              HIGHLY CONFIDENTIAL VIDEOTAPED DEPOSITION OF
  12                           ABRANTES-METZ, PH.D.
  13
  14           DATE:               March 7, 2024
  15           TIME:               9:12 a.m.
  16           LOCATION:           U.S. Department of Justice
                                   Antitrust Division
  17                               450 Fifth Street, Northwest
                                   Washington, D.C. 20530
  18
               REPORTED BY:        Shari R. Broussard, RPR, CSR
  19                               Reporter, Notary
  20           Job No. CS6456952
  21
  22

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                                              HIGHLY CONFIDENTIAL
                                                        Page 38                                                            Page 40
        1   BY MR. ISAACSON:                                    1      expressing an opinion in this case as to whether
        2      Q And I believe you've also said with            2      Project Bell was competitive or anticompetitive?
        3   respect to point five, "Acquiring an emergent       3         A    Correct, I have not provided an opinion.
        4   competitor, AdMeld, and eliminating as a            4         Q    And with respect to item eight, Google's
        5   competitive threat to Google's AdX and DFP          5      deployment of sell-side Dynamic Revenue Share, am
        6   products," that's also conduct you found to be      6      I correct that you have not expressed an opinion
        7   anticompetitive?                                    7      in this case as to whether that conduct was
        8          MS. WOOD: Objection to the form.             8      competitive or anticompetitive?
        9          THE WITNESS: Yes, I opine there were --      9             MS. WOOD: Objection to the form.
       10   there was an anticompetitive effect coming out of 10              THE WITNESS: I do not provide an
       11   this merger that affected directly the relevant    11      opinion that -- let's call it DRS -- in and of
       12   markets.                                           12      itself is anticompetitive.
       13   BY MR. ISAACSON:                                   13             The opinion I provide that relates to
       14      Q All right. And with respect to those          14      DRS is that it would have exacerbated the effects
       15   five acts, based on your testimony today am I      15      of other conduct that I found to be
       16   correct to understand that you don't -- you would  16      anticompetitive.
       17   not be able to tell me what your reasons that      17      BY MR. ISAACSON:
       18   those are anticompetitive where your reasons would 18         Q    When you say something exacerbated
       19   be any different from Dr. Lee's?                   19      conduct, does that mean it's anti- -- I'm sorry,
       20          MS. WOOD: Objection to the form.            20      let me start the question over.
       21          THE WITNESS: I didn't base my opinions 21                  When you say something exacerbated other
       22   on Dr. Lee's. I don't know his reasons. I am       22      conduct that you found was anticompetitive, does
                                                        Page 39                                                            Page 41
        1   testifying on my reasons.                              1   that mean that you're saying that the conduct that
        2          MR. ISAACSON: All right. If we can              2   you say was exacerbating was itself
        3   mark as Exhibit 5 the complaint in this case.          3   anticompetitive?
        4          (Abrantes-Metz Exhibit Number 5 was             4          MS. WOOD: Objection to the form.
        5          marked for identification.)                     5          THE WITNESS: No. I am saying that
        6   BY MR. ISAACSON:                                       6   there's a conduct that is anticompetitive, it had
        7       Q And if you look at pages 132 and 133 of          7   anticompetitive effects, those effects are larger
        8   the complaint -- and you -- you have reviewed the      8   because of DRS.
        9   complaint before, haven't you?                         9   BY MR. ISAACSON:
       10       A Yes. A while back, but I have.                  10       Q But DRS you have no opinion standing
       11       Q And if you look at paragraph 312,               11   alone -- let me start over.
       12   there's a list of ten items there.                    12          You have no opinion whether DRS standing
       13       A Yes.                                            13   alone was competitive or anticompetitive?
       14       Q Okay. That are -- that are alleged to           14          MS. WOOD: Objection to the form.
       15   be exclusionary conduct. The first one refers to      15          THE WITNESS: As of now, I do not
       16   Google's acquisition of DoubleClick.                  16   provide an opinion as to whether DRS just in and
       17          Am I correct that is not conduct that          17   of itself is or is not anticompetitive.
       18   you have expressed an opinion about in this case      18   BY MR. ISAACSON:
       19   as to whether it's competitive or anticompetitive?    19       Q And item nine listed in the complaint
       20       A That is correct.                                20   refers to Project Poirot.
       21       Q And with respect to item seven, Google's        21          Am I correct that you are not expressing
       22   use of Project Bell, am I correct that you are not    22   an opinion as to whether Project Poirot was

                                                                                                           11 (Pages 38 - 41)
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                                                      HIGHLY CONFIDENTIAL
                                                               Page 42                                                    Page 44
        1   competitive or anticompetitive?                               1   paragraph 12 that we were looking at.
        2          MS. WOOD: Objection to the form.                       2          MS. WOOD: What? Do you want to use
        3          THE WITNESS: That is correct. As of                    3   the -- her report instead or do you want to ask
        4   now, given information I have, I -- I am not                  4   her about his report?
        5   providing an opinion as to whether Poirot is or is            5          MR. ISAACSON: No, I -- I'm going to --
        6   not competitive by itself.                                    6   the -- no, I'm referring to item one in the
        7   BY MR. ISAACSON:                                              7   paragraph 12 little 3.
        8      Q And with respect to item four, "Google's                 8          MS. WOOD: So you want to ask her about
        9   limitation of dynamic allocation bidding                      9   her opinion, not Lee's opinions, but you want to
       10   techniques exclusively to AdX," is that also                 10   use Lee's report to ask her about her opinion?
       11   conduct that you are not expressing an opinion               11          MR. ISAACSON: Right, I've got -- I've
       12   about as to whether it was competitive or                    12   got these on the same page here, so I'm going to
       13   anticompetitive?                                             13   do that.
       14          MS. WOOD: Objection to the form.                      14          MS. WOOD: I think she's --
       15          THE WITNESS: Well, it depends on -- on                15   BY MR. ISAACSON:
       16   what item four has. I have not really broken it              16      Q So item one there, which is, you said,
       17   out that way.                                                17   was conduct you had generally discussed as well,
       18          These relate potentially to whether --                18   does that conduct in your report take place in the
       19   whether prices were sent back to publishers only             19   ad exchange market?
       20   through the context of dynamic allocation, and               20          MS. WOOD: Objection to the form and I
       21   therefore through DFP, and not to third-party                21   am going to object to using Lee's report to ask
       22   publishers and/or whether third-party publishers             22   her about her opinion. I think if you want to ask
                                                               Page 43                                                    Page 45
        1   accessing AdX outside of DFP could have sent                  1   her about her opinion, you should use her report
        2   dynamic floors to AdX or not and contrasting with             2   and the description of the conduct in her report
        3   the fact that they could within dynamic                       3   and not ask her about her opinions --
        4   allocation. So I have opinions that relate to                 4           MR. ISAACSON: This is going to be a
        5   point four, but I -- I think point four seems to              5   long speaking objection. Let's just keep it --
        6   be broad and unspecified on what do bidding                   6           MS. WOOD: Well --
        7   techniques mean exclusively to AdX.                           7           MR. ISAACSON: -- to objection.
        8          It...                                                  8           MS. WOOD: -- it's -- no. It's --
        9   BY MR. ISAACSON:                                              9   it's --
       10      Q    Now, with respect to Google providing                10           MR. ISAACSON: Let's just keep it to
       11   unrestricted access to Google Ads' advertiser                11   objection.
       12   demand exclusively to its AdX exchange and denying           12           MS. WOOD: -- object not to the -- to
       13   comparable access to rival ad exchanges, your                13   the question alone but to the process. It's an
       14   report expresses opinions that that action was               14   objection to using -- asking her --
       15   taken in an alleged ad exchange market; is that              15           MR. ISAACSON: We don't --
       16   correct?                                                     16           MS. WOOD: -- to keep in her mind --
       17          MS. WOOD: Objection to the form.                      17           MR. ISAACSON: We don't do speaking
       18          THE WITNESS: Could you please repeat                  18   objections to process.
       19   the question.                                                19           MS. WOOD: Well, we do when the process
       20   BY MR. ISAACSON:                                             20   is this unorthodox. When --
       21      Q    Sure. If it helps you, I'm just using                21           MR. ISAACSON: I don't think --
       22   the language in item one of Professor Lee,                   22           MS. WOOD: When the report you're asking

                                                                                                           12 (Pages 42 - 45)
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                                         HIGHLY CONFIDENTIAL
                            ERRATA SHEET FOR THE TRANSCRIPT OF:


    Case Name:      United States et al. v. Google LLC, No. 1:23-cv-00108 (E.D. Va.)

    Deposition Date: 03/07/2024

    Deponent:       Rosa Abrantes-Metz


                                               CORRECTIONS

    Page   Line     Change                                          Reason
   57      9       The word “quantity” should read “quantify”      Transcription error
   94      5       The word “accusation” should read               Transcription error
                   “acquisition”
   112     6-7     The words “No, of the report. You’re in the     Clarification
                   opening report.” should read “No, of the report
                   you’re in. The opening report.”
   113     16      The word “Googles” should read “Google’s”       Transcription error
   139     10      The number “100” should read “1000”             Transcription error
   192     20-21   The words “has not been reached” should read Transcription error
                   “has not yet been reached”
   193     3       The words “another decision” should read        Transcription error
                   “another case”
   290     15      The word “depracated” should read               Spelling error
                   “deprecated”
   302     11      The words “engineering PM/policy” should        Transcription error
                   read “engineering and PM/policy”
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                                                                  Page 340

    1                     A C K N O W L E D G E M E N T
    2                           O F    D E P O N E N T
    3
    4
               I, ROSA ABRANTES-METZ, PH.D., do hereby
    5
               acknowledge I have read and examined the foregoing
    6
               pages of testimony, and the same is a true,
    7
               correct and complete transcription of the
    8
               testimony given by me, and any changes or
    9
               corrections, if any, appear in the attached errata
  10
               sheet signed by me.
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
               _________________            ___________________________
  21           Date                         ROSA ABRANTES-METZ, PH.D.
  22           Job No. CS6456952

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                    Attorney Errata Sheet for the Transcription of Rosa Abrantes-Metz


        Case Name: United States et al v. Google LLC, No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
        Depo. Date: March 7, 2024
        Deponent:     Dr. Rosa Abrantes-Metz


 Page      Line       Correction                                                Reason for Correction
  2          21       Change “Jeff Brennan” to “Jeff Vernon”                      Transcription error
  17         12       Replace “ran” with “run”                                       Clarification
  26        11 –      Change “Is that discussion of open web advertising…”        Transcription error
             12       to “Is that discussion of open web display
                      advertising…”
  27          1       Change “of open web advertising consistent…” to “of         Transcription error
                      open web display advertising consistent…”
  44          2       Replace “What? Do you want” with “Well, do you              Transcription error
                      want”
  44          9       Replace “Lee’s opinions” with “Lee’s opinion”               Transcription error
  45         12       Replace “object not to the” with “objection not to the”     Transcription error
  46          5       Replace “Okay.” with “Alright.”                             Transcription error
  46         16       Replace “Object” with “Objection”                           Transcription error
  47          2       Replace “whether” with “where”                                 Clarification
  52         15       Insert “was” after “2016”                                   Transcription error
  52         17       Insert “just” after “is”                                    Transcription error
  52         18       Change “Google understands” to “Google understood”          Transcription error

  55         10       Replace “hundred” with “hundreds”                           Transcription error
  59         13       Delete “to” after “referring”                               Transcription error
  60        21 –      Replace “it” with “that”                                    Transcription error
             22
  64          5       Capitalize “Google Ads”                                     Transcription error
  66          2       Delete “as” after “broad”                                      Clarification
  68         12       Insert “of” after “analysis”                                Transcription error
  76        15 –      Replace “the separate products” with “as separate           Transcription error
             16       products”
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  79      1      Replace “physical” with “feasible”                            Transcription error
  79      2      Replace “feeds” with “bids”                                   Transcription error
 114      9      Replace “from” with “for”                                         Clarification
 145      3      Change “a monopolist” to “a hypothetical monopolist”          Transcription error

 164     14 –    Delete “they” after “that”                                        Clarification
          15
 177     8–9     Replace “20 is less than” with “20 is less than double”           Clarification

 192      9     Replace “approve” with “a prove”                               Transcription error

 196     6–7    Replace “or quality was lower than it actually was or              Clarification
                innovation was lower than it actually was” with “or quality
                was lower than it should have been or innovation was
                lower than it should have been”
 202     6–7    Delete “from” after “required”                                     Clarification
 202      8     Replace “clients, for example,” with “clients. For            Punctuation for clarity
                example,”
 227     20 –   Delete “do” before “neither” ; Replace “or” with “nor”             Clarification
          21
 255      5      Delete “(ph)”                                                 Transcription error
 256      13     Replace “confirms” with “conforms”                                Clarification
 256      15     Replace “on” with “of”                                            Clarification
 266      18     Delete “in the”                                                   Clarification
 268      15     Change “And then below that it says” to “And then             Transcription error
                 Aparna Pappu below that says”
 269      20     Change “dynamic allocations” to “dynamic allocation”          Transcription error
 276      20     Replace “lied” with “lay”                                         Clarification
 279      7      Change “publisher” to “publishers”                            Transcription error
 290     4–5     Replace “this intermediation” with “disintermediation”        Transcription error
 295     18      Replace “potential” with “potentially”                            Clarification
 298      5      Insert “how” after “discuss”                                  Transcription error
 299      10     Replace “beat” with “bid”                                     Transcription error
 300     12 –    Replace “page of the Overview” with “page in the              Transcription error
          13     overview”
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300-   22 – 1   Replace “publisher first or the third-party ad server     Transcription error
301             would” to “publisher first or third-party ad server
                could”
301     12      Replace “side” with “server-side”                         Transcription error
301     14      Insert a single quotation between the period and the    Punctuation for clarity
                double quotations following “issues”
302    10 –     Replace “engineering PM/policy” to “engineering and       Transcription error
        11      PM/policy”
302     21      Replace “to the case” with “to be the case”               Transcription error
302     22      Replace “had” with “could have”                           Transcription error
305      5      Replace “deprecating” with “deprecated”                      Clarification
307      4      Replace “what” with “what’s”                              Transcription error
308      5      Insert a comma after “concludes”                        Punctuation for clarity
308    5–6      Insert quotations around “the business case does not    Punctuation for clarity
                justify the development”
309     17      Insert “about” after “talking”                            Transcription error
311     13      Replace “document. Perhaps” with “document, or else”      Transcription error
312      1      Replace “All right” with “Okay”                           Transcription error
312     14      Insert “in” after “May,”                                  Transcription error
313      9      Replace “isn’t” with “is not”                             Transcription error
314     20      Replace “entire competitive” with “anticompetitive”       Transcription error
314     21      Replace “entire competitive” with “anticompetitive”       Transcription error
322      6      Replace “ramp” with “wrap”                                Transcription error
325      1      Replace “with publishers” with “for publishers”           Transcription error
329      5      Insert open quotations before “a rationale”             Punctuation – this is a
                                                                        quote from the report
                                                                        and is ended with
                                                                        closed quotations
332     20      Replace “Ad—” with “at”                                 Transcription error
337     17      Replace “agree” with “disagree”                         Transcription error
